Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 1 of 8

UNITED STATES CAPITOL POLICE
REPORT OF INVESTIGATION

| COMPLAINANT(S): United States Capitol Police OPR # 21-006 A
| SUBJECT OF INVESTIGATION: Rule BI: Unsatisfactory Performance

1 nein nie

Respondent:

|. Sergean (i M PrN BERR rotective Services Bureau, Investigations Division,

Criminal Investigations Section (PSB-ID-CIS).

Witnesses:

1. Lieutenar I Jr, Poy BB vitormed Services Bureau, Senate Division,
Section One (USB-SD-1).

2. Sergeant (RG PIN BERR Operational Services Bureau, Special Operations

Division, Section Two (OSP-SOD-2).

3. 2 aaa PING niforned Services Bureau, Capitol Division, First
Responders Unit, Section Two (USB-CD-FRU-2).

4. Office PIN ae Uniformed Services Bureau, Senate Division, Section
Three (USB-SD-3).

Allegation(s):

That Sergean EE olated USCP Directive 2053.013, Rules of Conduct, on
January 6, 2021, when he allegedly failed to take appropriate action during an attack on the

United States Capitol Building.

Background:

On January 11, 2021, the Office of Professional Responsibility was made aware of multiple
social media videos involving United States Capitol Police (USCP) employees and their conduct
during the attack on the United States Capitol Building that occurred on January 6, 2021. The
social media videos showed unauthorized individuals entering through the Upper West Terrace
(UWT) emergency exit door, while five USCP employees are standing off to the side. The
unauthorized individuals continue into the building and proceed up the stairs towards the Capitol
Rotunda. Sergeant IM Protective Services Bureau, Investigations Division,

CAPD_000000056
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 2 of 8

bo

OPR Case #21-006 A

Criminal Investigations Section (PSB-ID-CIS) was identified in one or more of the social media
videos. [EXHIBITS 3 & 4]

The case was assigned to Sergeant Brent M. Hitz (OPR) for investigation on January 11, 2021.

The OPR reviewed USCP Closed Circuit Television’ (CCTV) of camera #01 57, #0920, #0912
and #0126, which revealed the following information about this event at the UWT Door:
EXHIBIT 6]

" According to CCTV footage, unauthorized individuals are observed exiting out of the
UWT Door before INEM arrived at that location. MD Lieutenant
Bl Uniformed Services Bureau, Senate Division, Section One (USB-SD-1), Sergeant

Operational Services Bureau, Special Operations Division, Section Two

(OSP-SOD-2), Officer MINN Uniformed Services Bureau, Capitol
Division, First Responders Unit, Section Two (USB-CD-FRU-2) and Office
HERR Uniformed Services Bureau, Senate Division, Section Three (USB-SD-3) all end
up together in the Office of the Attending Physician {(OAP) hallway.

2:33:23 — MM and HE are observed opening the UWT secondary doors’, which leads to
the UWT Door, II is observed pointing at the UWT Door to have unauthorized individuals
exit. ME and I appear to be talking to a group of unauthorized individuals. Some
unauthorized individuals leave and exit out the UWT Door. Protesters that are outside of the
UWT Door are observed entering the building through that door. #01 26, #0912

2:34:19 ~ EE steps forward into the threshold of the UWT secondary door and stops three
unauthorized individuals from continuing further into the building. EE and HM are
observed with BB curing this timeframe. Approximately 15 more unauthorized individuals
enter the UWT Door. More protesters are observed at the UWT Door and outside of the UWT
Door. #0126, #0912, #0920,

2:35:00 - A large group of protesters are observed on the north side and middle of the UWT
(outside the building) attempting to enter the building through the UWT Door. #0920

2:35:54 — Approximately 60 unauthorized individuals entered the UWT Door and moved past
the officers that are standing by the UWT secondary door. At this point, ME comes through

the UWT secondary door shaking his head. [I HERBY and WEEE are behind him.
Unauthorized individuals are stopped beyond the UWT Door entrance. #0126, #0912

2:36:23 ~ Approximately thirteen unauthorized individuals are observed just inside the UWT
Door, with a larger group of protesters outside the UWT Door. #0912

2:36:50 - The unauthorized individuals appear to be chanting and then push through the officers
and past the UWT secondary door. #091 2, #0126

' CCTV is aclosed circuit television system, including cameras placed throughout the Capitol Complex
? To reduce confusion throughout the ROI “UWT Door” refers to the “UWT emergency exit door.”
* To reduce confusion throughout the ROI, “UWT secondary doors” refers to the “UWT interior doors.”

CAPD_000000057
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 3 of 8

3 OPR Case #21-006 A

2:37:00 - 2:39:04 - Approximately 104 unauthorized individuals enter the UWT Door. #0126

2:39:04 ~ ERM is observed listening to and/or using his radio. Approximately ten more
unauthorized individuals enter through the UWT Door. #0126

2:40:07 — HEI steps closer to the UWT Door and confronts the protesters that are just inside

the doorway. i [i GY and MRHH are standing across the hallway blocking the

protesters from entering further into the building. A large group of protesters are observed
outside the UWT Door, #0912

2:42:20 — Protesters are observed aggressively arguing with officers. Unauthorized individuals
are observed behind the officers at the UWT secondary doors. #0912, #0126

2:44:17 ~ HM says something to EEN then pulls him back by the shoulder; then pulls
MMB back by the shoulder. The officers start to back up towards UWT secondary doors.
Officers walk through the UWT secondary doors with the unauthorized individuals following
behind them. #0126, #0912

The OPR reviewed USCP audio and audio transcripts provided by Communications for the
incident at the UWT Door, which revealed the following information: [EXHIBITS 7 & 8]

Dispatch: “Any unit (inaudible) copy, Upper West Terrace Door is being breached as well. Any
unit can respond to there to assist. Any unit,” ~ Approximately 1434 hours.

Dispatch: “544, Say your message again." ~ Approximately 1434 hours.

Officer*: “(Inaudible) Charlie, I'm at the Upper West Terrace Door. I've gat three officers with
me. We (inaudible) breach.” ~ Approximately 1435 hours.

Dispatch: “J copy. Upper West Terrace Door needs assistance...” ~ Approximately 1435 hours.

Officer’: “970A, I need somebody with a key to the Upper West Terrace Door. Ifwe can
resecure the lock, we could close it." ~ Approximately 1440 hours.

Dispatch: “Again, any unit with the keys Upper West Terrace to respond to secure that door
now." Approximately 1440 hours.

The OPR reviewed USCP radio mic key-ups® provided by Communications for the incident at
the UWT Door, which revealed the following information: [EXHITBIT 9]

* MEME utilized his radio or tried to key-up two times between 14:39:11 hours and
14:48:22 hours.

‘This officer was later identified as Licutenan is
* This officer was later identified as Sergean
* Radio key-ups refer to the timeframe that USCP employees utilized their USCP radio.

CAPD_000000058
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 4 of 8

4 OPR Case #21-006 A

The OPR obtained a map of the first floor of the Capitol Building and identified the location of
this incident. [EXHIBIT 10]

Discussion:

On January 28, 2021, MMI (SD-1) was interviewed and provided a written statement.
[EXHIBIT 11 & 12]

When asked to explain what was happening at the 2:34:40 mark on the CCTV footage, A
Stated, “7 mean just what you see. Ti rying to stop the people. I think at some point we realized we
weren't going to be able to, so...my thought at that point was get to the door. I was thinking at
that point to try and close the door, after we get to the door and get them stopped. You'll see
Sergeant EE jmp out again, he wies and we get them stopped at the actual exit door. And
then...they were arguing back and forth, you know, hold them there. And 1 was thinking if we
could get them pushed back just a little bit more, we could get the door closed but then I realized
if we get that door closed, it’s not locked." Additionally, MM stated, “Can J say something
here? I mean, you can sit here and count them all day. I could see out that door and there were
thousands of people, And in my perspective, at that point, they were just pouring in, So, | mean,
it’s nice for you to like, this is like the third time you've counted protestors. And then like you had
this number here, this number there, it seemed like a lot more.”

OPR: “Ai any point, did somebody in that group call out what you guys had, the situation, um,
right here, specifically with the door being open?”

ME “Before you see me in this video, I can't recall ifthe call came out over the radio for
door breach at the Upper West Terrace Door or if | initiated it, I put out over the radio ~ 1 was
at the Upper West Terrace Door, I had Jour or five officers with me, I needed more people to
stop the breach, Cause like I said, when I looked out the hallway and out the door, it was just a
sea af people and it looked like they were all Sunneling right in that door. I mean, obviously
looking back that wasn't the case, but that's what it looked like. [ called out for ~ I know I put out
over the radio, I think I called it the second time. Um, but at na point, could I hear a response or
one that was coherent to me at that point?

When asked to explain why he and the other officers were standing to the side as unauthorized
individuals entered the UWT Door, MEM stated, “With only five officers, there was only so
much we could do. Obviously, we tried to stop it, it didn't last very long. We just waited for an
opportunity and Sergeant Ea junps right on when the low slows down again...he jumps
back in front and we kinda stop them there for a while."

BB provided the following written statement:

“On January 06, 2021, 1 arrived at the Capitol to begin my shift at approx. 1400 hours.
An active riot was already in progress. I responded to the Lower West Ti errace Door
where rioters were attempting to breach. Upon arrival [ found CDU officers engaged
with rioters but holding. Almost immediately afer my arrival a breach of the North Door
was broadcasted. Myself and several officers responded up the stairs and met rioters in
the Crypt. A severely undermanned police line was formed.

CAPD_000000059
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 5 of 8

5 OPR Case #21-006 A

Shortly after the line was formed rioters surged and forced the police line back and
through the Crypt. J was pinned in a corner as the crowd surged through and out of the
Crypt. As the crowd thinned I was able to escape through the west entrance to the Crypt.
Myself and several officers moved south in an attempt to meet up with another police
line.

We stopped in the OAP hallway just south of the Crypt where we held rioters for a short
time. When it became obvious holding the rioters in the OAP hallway was useless as

rioters were already behind us, we returned along the OAP hallway in another attempt to
find a police line.

We stopped at the Upper West Terrace door which was in alarm and open. Rioters were

entering through the open door. I advised dispatch and requested back up, I was unable

to determine if anyone was responding. The officers with me were able to stop the rioters
Jrom entering for a short time, however with only 5 of us at the door we wouldn't be able
to hold for long.

A call came over the radio for “Shots Fired on the House Floor” and I was unable to
determine from radio traffic if anyone was responding. The situation at the Upper West
Terrace door was worsening. Rioters were becoming more agitated and angry; more and
more rioters behind us were taking an interest in what we were doing. Based on the
numbers of rioters and their action I believed we wouldn't be able to hold the door. I
prioritized the Shots Fired call as more important and pulled everyone back to respond to
the House Floor, where 1 understood the shots were fired.”

On January 29, 2021, MN (PSB-ID-CIS) was interviewed and provided a written statement,
(EXHIBIT 13 & 14]

MBE confirmed he was one of the individuals present, when shown the social media video of
this incident. During the social media video, INEM is heard saying, “/ disagree with it, but
respect the (inaudible). "’ When asked to explain what he was saying, MMMM stated, “Part of
what you don’t hear is somebody asking me a question or saying, ‘thank you for supporting us
which prompted the response. And the response was, ‘I disagree with it, but respect it, respect
the building.’ That's the full statement that I said. And that comes Jrom the dialogue that I was
having in attempting to deescalate the group before they pushed passed us... but that video was
clearly — it was modified because they asked me a question that prompted my response to it, it
wasn't unsolicited...J've seen a separate video of this, where they cut the audio out
completely..."

?

MMMM was asked to describe what was going on just prior to, during and right after the social
media video. MMMM stated that when he arrived at the UWT Door, the door was in alarm and
unauthorized individuals were at the door. Additionally NINE stated, “The crowd stops
pushing and that's when the verbal dialogue begins and I’m trying to deescalate, prevent this
thing from going south. Their rhetoric is pushing and pulling for us to take action against them, I
distinctively had the feeling that they were egging us on...I’m talking and I'm trying to use some
of that verbal judo stuff to ~ ‘you guys are wrong,’ ‘this is wrong, you're not supposed to be
here,’ ‘this isn't the way to do it,’ ‘you're not showing respect for the building, you're not

CAPD_000000060
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 6 of 8

6 OPR Case #21-006 A

showing respect for the process.’ And that's when they came in with, ‘you're traitors, the
president told us to come here and do this... you guys are on the wrong side of history for this,’
And then one of the guys asked me, ‘are you ready to die for this place?’...1'm still irying to
deescalate...stall in hopes. At some point I got on the radio and asked for the key,

dispatch ...should have it, it comes from my radio from my PIN’. I answered up, I said, ‘we need
a key at the upper west terrace door to resecure this door and Stop the breach." Dispatch
acknowledged it, so I'm thinking, I’m hoping that maybe someone's coming...And then at some
point in time, the guy repeats his question and says, ‘are you willing to die for this,‘ to which I 1
squared up on him, had my baton in my hand and raised it up to him and said, ‘you know J took
an oath to protect this place and that's what I'm gonna do.’” And “He was the leader of the
group and I'm thinking if we're gonna initiate contact, I've gol one chance to knock him out to
potentially gain the upper hand on this group. One of the guys does say during this, ‘vou do
realize that we have you outnumbered and it's just a matter of minutes before we overpower you
and we come into the building.”

According to IR someone came up behind him and said, “It’s nol worth it, it’s just a
building. GEMM stated, “When he said that, it kinda broke my cycle of ~ I'm about to get into a
Jight with these guys. This is going to lead to a deadly force encounter because they outnumber
us, And then preservation of life took over as a priority at that door. And I don't have any other
way to explain it. I think I had absolved all use of force options up until that point. We tried
talking our way through it, we got into the physical confrontation, we fought, the only thing lefi
at that point was deadly force I think and th ey were provoking us to rise it to that level. And I
didn't want to be the one to take it there...so then the rest is what you captured there on the
video, which is them walking in.”

According to iS GMM told him that a Civil Disturbance Unit (CDU) was around the
comer at the other end of the OAP hallway. IERIE stated that when they got to the UWT
secondary doors, they did not find a CDU squad. According to MJ he continued to talk with
the unauthorized individuals and told them if they wanted to leave they could exit out the UWT
Door.

OPR: “Your reasoning or the groups reasoning to not 100 percent wry to push them out the door,
just because...?”

ME “Sheer numbers, sheer numbers, we were outnumbered, Again, | don’t know at the time
if saw the optics of how many people that was.”

MEE is shown CCTV footage at the 2:36:50 mark, when the group of unauthorized individuals
start to push back against the officers while saying let us in. When asked to describe this part of
the incident, MMM states, “We ger into the physical ~ we're pushing, we're punching, we're
hitting, we're attempting to repel these people back out the door. ZZ stated, 'Y could have
sworn, { heard that door in alarm though, when we Jirst got to that area.”

According to J after the group of unauthorized individuals pushed through the officers, he
utilized his radio and asked for a key to resecure the UWT Door so they could stop the breach.

” PIN refers to personal identification number, which corresponds to an officer's radio.

CAPD_000000061
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 7 of 8

7 OPR Case #21-006 A

When asked if the officers had a plan about what to do as the group of unauthorized individuals
were entering the UWT Door, MM stated, “No, we were just in it 10 ~ I mean we all had the
same focus, it was...trying to push these people out. We were ail in the same concerted effort, I
don't think i1 needed to be spoken — that we were there to try to stop this stuff from occurring, the
best that we could."

HE was shown CCTV footage at the 2:42:20 mark, which showed the flow of unauthorized
individuals coming through the UWT Door, slowing down. The officers were seen forming a
police line and stopped the unauthorized individuals from entering further into the building.
MM stated, “/ Anew at some point, I told the crowd, the buildings closed ~ you're not
supposed to be here, But that’s what's taking place here.”

ME was asked if he remembered what IMM said to him at the 2:44:17 mark on the CCTV
footage. MMMM stated, “/ do...that was right after those guys just asked if we were ready to die
Jor this place and I raised my fist to them and I told em, I said, ‘I swore an oath to protect this
place.’ And that’s when MEM says, ‘It’s not worth it, it's just a building.’ God damn ~ man it's
tough, MMMM stated, “/ believe shots fired was just called at that point. Shots fired on the floor
and our inimediate reaction ~ somebody says it and it may have been WHEE says ‘we gotta get
to the House Floor, that’s where we need to be, And that’s where we iy to make our way to but
~ 1 remember trying to get to that point and getting stopped by MPD, WEEE stated that his
objective at that point was to get to the House Floor for what he believed was an active shooter
situation.

optically of course it looks horrible...”

‘ This is a reference to MBM saying, “/'s not worth it, i ’s just a building ”

CAPD_000000062
Case 1:21-cr-00117-RCL Document 71-4 Filed 12/15/21 Page 8 of 8

8 OPR Case #21-006 A

OPR: “Did you or someone notify Communications of the situation, advise them of the incident,
your location, observation...?"

ME “Outside of my request for the key, I did not make any other requests over the radio.
However, the evening that this occurred, when I was speaking with Sergeant [EEE he may have
a different perspective, because he said that there was a lot of radio traffic from the people at the
door, about that door, But I myself. only asked for the key to resecure it,”

OPR: “Were there any attempts to resecure the door, I guess other than the call that you had pul
out for that?”

MMM “No, we could not gain physical control over the people that were at the door, 1 didn't
See an opportunity to close or resecure the door, based on everything that was taking place.”

OPR: “Was there a failure to take appropriate police action during this incident at the UWT
Door?”

BRE No, / believe the steps that we took were appropriate and were only limited to the fact
that deadly force was the only other option,"

OPR: “Do you believe your conduct brought discredit to yourself or the department?”
Millard: “7 don't, no.”

OPR: “When WEEE grabbed you guys and pulled you back and you left the UWT Door ~ did
you realize that leaving the UWT Door would allow more protesters to come into the building?”

MME didn't realize it at that time, my focus and shift became on getting to the House
Chamber where I believed there was an active shooter Situation, where reinforcements were
needed. I believe the prioritizing of reinforcing the shooting and shots fired and officers in
distress was the greater priority,”

HE provided the following written statement:

“On January 6, 2021, 1 was assigned to the Inaugural Task Force (ITF) responsible for
various duties in preparation for the 59th Inaugural Ceremonies. I was in the ITF affice
located at the Government Printing Office (GPO) monttoring the USCP radio and
observing current events on the local news broadcast. Myself along with other ITF
members monitored the deteriorating conditions from the demonstration march and
concluded after the police line on the West Front was broken that we would self-deploy ta
the Capitol if the Capitol building were breached. Shortly after formulating this plan, a
priority for a breach of the Senate Door was broadcast, myself along with Set, ii

Be S;: ES Cop ci:
MB and Inspector responded priority to the WHE Loading dock where we
then made our way to the Capitol.

Our first contact with the crowd occurred in the Capitol Crypt where we became involved
in @ pliysical confrontation with approximately 150 rioters. There were approximately 40

CAPD_000000063
